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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                              CASE NO.:




  WINDY LUCIUS
  and JAMES WATSON,

         Plaintiffs,
  v.

  SOBE VEGAN, LLC a foreign-for-profit corporation,

         Defendant.
                                                        /

                           COMPLAINT FOR INJUNCTIVE RELIEF

         Plaintiffs, WINDY LUCIUS and JAMES WATSON, (“Plaintiffs”), hereby sue the

  Defendant, SOBE VEGAN, LLC (“Defendant”), a foreign for-profit corporation, for Injunctive

  Relief, and attorney’s fees, litigation expenses, and costs pursuant to the Americans with

  Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

         1.      Plaintiffs are Florida residents, living in Miami-Dade County, are sui juris, and

  qualify as an individuals with disabilities as defined by the ADA. Plaintiffs are blind and therefore

  unable to fully engage in and enjoy the major life activity of seeing.

         2.      Plaintiffs also utilize the internet. Plaintiffs are unable to read computer materials

  and/or access and comprehend internet website information without software specially designed

  for the visually impaired. Specifically, Plaintiffs utilize the JAWS Screen Reader software, which

  is one of the most popular reader Screen Reader Software (“SRS”) utilized worldwide.

         3.      Plaintiffs are also advocates of the rights of similarly situated disabled persons and
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  are “testers” for the purpose of asserting their civil rights and monitoring, ensuring, and

  determining whether places of public accommodation and/or their websites are in compliance with

  the ADA.

          4.      Defendant owns, leases, leases to, or operates a place of public accommodation as

  defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.

  The place of public accommodation that the Defendant owns, operates, or leases is located in

  Miami-Dade County.

          5.      Subsequent to the effective date of the ADA, Defendant constructed, or caused to

  be constructed, a website located at https://sobev.com (hereinafter “website”). Defendant is the

  owner, operator, lessor and/or lessee of the website. This website supports, is an extension of, is

  in conjunction with, is complementary and supplemental to, the above-referenced public

  accommodation. This website provides information about Defendant’s public accommodation,

  including information about the special sales, goods, services, accommodations, privileges,

  benefits and facilities available to patrons at physical locations. The website also allows customers

  to make purchases online which can be picked up at the physical store or delivered to the person

  making the order. On information and belief, Defendant also continually and/or periodically

  updates and maintains the website.

          6.      Venue lies in the Southern District of Florida pursuant to 28 U.S.C. § 1391(b), and

  Local Rule 3.1, in that the original transaction or occurrence giving rise to this cause of action

  occurred in this District.

          7.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

  original jurisdiction over actions which arise from the Defendant’s violations of Title III of the

  Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.




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         8.      The website is an extension of Defendant’s place of public accommodation. By and

  through this website, Defendant extends its public accommodation into individual persons’ homes,

  portable devices and personal computers wherever located. The website is a service, facility,

  privilege, advantage, benefit and accommodation of Defendant’s place of accommodation. The

  website also provides access to the goods, services, facilities, privileges, advantages or

  accommodations of the place of public accommodation. For example, the website provides a store

  locator, and a menu of items available for sale in the brick and mortar restaurants. Like many

  sighted people, Plaintiffs would like to preview dining selections at the Defendant’s restaurants to

  determine whether to dine with Defendant and to determine whether certain items are “on special”.

  Plaintiffs would like to take advantage of in store specials that they would only know about from

  the website. They would also like to take advantage of the curb side pickup or low-cost delivery

  service that is available. Defendant’s website provides access to benefits of Defendant’s physical

  restaurants and Plaintiffs were denied those benefits when they could not access Defendant’s

  website. As such, the website has integrated with and is a nexus to the brick and mortar location.

  Therefore, it is governed by the following provisions:

                 a.      42 U.S.C. Section 12182(a) provides: “No individual shall be discriminated

  against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,

  privileges, advantages, or accommodations of any place of public accommodation by any person

  who owns, leases (or leases to), or operates a place of public accommodation.”

                 b.      42 U.S.C. Section 12182(b)(1)(A)(i) provides: “It shall be discriminatory to

  subject an individual or class of individuals on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements, to a denial

  of the opportunity of the individual or class to participate in or benefit from the goods, services,




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  facilities, privileges, advantages, or accommodations of an entity[.]”

                  c.      42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory

  to afford an individual or class of individuals, on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements with the

  opportunity to participate in or benefit from a good, service, facility, privilege, advantage, or

  accommodation that is not equal to that afforded to other individuals[.]”

                  d.      42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory

  to provide an individual or class of individuals, on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements with a good,

  service, facility, privilege, advantage, or accommodation that is different or separate from that

  provided to other individuals, unless such action is necessary to provide the individual or class of

  individuals with a good, service, facility, privilege, advantage, or accommodation, or other

  opportunity that is as effective as that provided to others[.]”

                  e.      42 U.S.C. Section 12182(b)(1)(B) provides: “Goods, services, facilities,

  privileges, advantages, and accommodations shall be afforded to an individual with a disability in

  the most integrated setting appropriate to the needs of the individual.”

                  f.      42 U.S.C. Section 12182(b)(1)(C) provides: “Notwithstanding the existence

  of separate or different programs or activities provided in accordance with this section, an

  individual with a disability shall not be denied the opportunity to participate in such programs or

  activities that are not separate or different.”

                  g.      42 U.S.C. Section 12182(b)(2)(ii) describes as discrimination: “a failure to

  make reasonable modifications in policies, practices, or procedures, when such modifications are

  necessary to afford such goods, services, facilities, privileges, advantages, or accommodations to




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  individuals with disabilities, unless the entity can demonstrate that making such modifications

  would fundamentally alter the nature of such goods, services, facilities, privileges, advantages, or

  accommodations[.]”

                 h.      42 U.S.C. Section 12182(b)(2)(iii) describes as discrimination: “a failure to

  take such steps as may be necessary to ensure that no individual with a disability is excluded,

  denied services, segregated or otherwise treated differently than other individuals because of the

  absence of auxiliary aids and services, unless the entity can demonstrate that taking such steps

  would fundamentally alter the nature of the good, service, facility, privilege, advantage, or

  accommodation being offered or would result in an undue burden[.]”

         9.      As the owner or operator of the subject website, Defendant is required to comply

  with the ADA and the provisions cited above. This includes an obligation to create and maintain a

  website that is accessible to and usable by visually impaired persons so that they can enjoy full

  and equal access to the website and the content therein, including the ability to place orders through

  the website for pickup at a designated location.

         10.     Plaintiffs attempted to access and/or utilize Defendant’s website, but were unable

  to, and they continue to be unable to enjoy full and equal access to the website and/or understand

  the content therein because numerous portions of the website do not interface with and are not

  readable by SRS. More specifically, features of the website that are inaccessible to the visually

  impaired include, but are not limited to, the following: After the “contact” label is announced, then

  focus moves to an area above the main menu icon and announces three unlabeled elements that

  are not shown onscreen. For example, the first hidden element is announced as “clickable 1 button.

  The Locations section is not announced. Focus moves from the Next button in the carousel to the

  footer. It skips the South Beach and W Fort. Lauderdale Beach buttons. The hamburger menu




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  and the social media links receive focus, but none are announced. Users must Tab through each

  element, but they will not know what they are on since none of the elements are labeled. There is

  no “skip content” link available of the website. After the Menu label is announced, then focus

  moves to unlabeled elements that are not shown onscreen. Users hear “Heading Level 2 Menu”

  13 times before focus moved to the first menu item. Error messages on the Contact Us form are

  not announced. Sighted users will see on screen errors, while blind users do not hear an alert that

  errors are present.

          11.     Plaintiffs continue to attempt to utilize the website and/or plan to continue to

  attempt to utilize the website in the near future. In the alternative, Plaintiffs intend to monitor the

  website in the near future, as a tester, to ascertain whether it has been updated to interact properly

  with screen reader software.

          12.     As more specifically set forth above, Defendant has violated the above cited

  provisions of the ADA by failing to interface its website with software utilized by visually

  impaired individuals. Thus, Defendant has violated the following provisions either directly or

  through contractual, licensing or other arrangements with respect to Plaintiffs and other similarly

  situated individuals on the basis of their disability:

                  a.      by depriving them of the full and equal enjoyment of the goods, services,

  facilities, privileges, advantages, or accommodations of its place of public accommodation (42

  U.S.C. § 12182(a));

                  b.      in the denial of the opportunity to participate in or benefit from the goods,

  services, facilities, privileges, advantages, or accommodations (42 U.S.C. § 12182(b)(1)(A)(i));

                  c.      in affording them the opportunity to participate in or benefit from a good,

  service, facility, privilege, advantage, or accommodation that is not equal to that afforded to other




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  individuals (42 U.S.C. § 12182(b)(1)(A)(ii));

                 d.      by providing them a good, service, facility, privilege, advantage, or

  accommodation that is different or separate from that provided to other individuals, unless such

  action is necessary to provide the individual or class of individuals with a good, service, facility,

  privilege, advantage, or accommodation, or other opportunity that is as effective as that provided

  to others (42 U.S.C. § 12182(b)(1)(A)(iii));

                 e.      by failing to afford them goods, services, facilities, privileges, advantages,

  and accommodations in the most integrated setting appropriate to the needs of the individual (42

  U.S.C. § 12182(b)(1)(B));

                 f.      notwithstanding the existence of separate or different programs or activities

  provided in accordance with this section, by denying them the opportunity to participate in such

  programs or activities that are not separate or different. (42 U.S.C. § 12182(b)(1)(C));

                 g.      by a failure to make reasonable modifications in policies, practices, or

  procedures, when such modifications are necessary to afford such goods, services, facilities,

  privileges, advantages, or accommodations to individuals with disabilities, unless the entity can

  demonstrate that making such modifications would fundamentally alter the nature of such goods,

  services, facilities, privileges, advantages, or accommodations (42 U.S.C. § 12182(b)(2)(ii)); and,

                 h.      by a failure to take such steps as may be necessary to ensure that they are

  not excluded, denied services, segregated or otherwise treated differently than other individuals

  because of the absence of auxiliary aids and services, unless the entity can demonstrate that taking

  such steps would fundamentally alter the nature of the good, service, facility, privilege, advantage,

  or accommodation being offered or would result in an undue burden (42 U.S.C. § 12182(b)(2)(iii)).

         13.     Plaintiffs would like to be a customer at Defendant’s brick and mortar locations but




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  before they goes to the restaurant, they would like to determine what is available for their dining,

  what promotions are being offered and what new menu items are currently available. In that

  regard, Plaintiffs continue to attempt to utilize the website and/or plans to continue to attempt to

  utilize the website on a monthly basis to make selections for purchasing online or in the store.

         14.     Plaintiffs are continuously aware of the violations at Defendant’s website and are

  aware that it would be a futile gesture to attempt to utilize the website as long as those violations

  exist unless they are willing to suffer additional discrimination.

         15.     Plaintiffs have suffered, and continue to suffer, frustration and humiliation as the

  result of the discriminatory conditions present at Defendant’s website. By continuing to operate

  its website with discriminatory conditions, Defendant contributes to Plaintiffs’ sense of isolation

  and segregation and deprives Plaintiffs the full and equal enjoyment of the goods, services,

  facilities, privileges and/or accommodations available to the general public. By encountering the

  discriminatory conditions at Defendant’s website, and knowing that it would be a futile gesture to

  attempt to utilize the website unless they are willing to endure additional discrimination, Plaintiffs

  are deprived of the meaningful choice of freely visiting and utilizing the same accommodations

  readily available to the general public and is deterred and discouraged from doing so. By

  maintaining a website with violations, Defendant deprives Plaintiffs the equality of opportunity

  offered to the general public.

         16.     Plaintiffs have suffered and will continue to suffer direct and indirect injury as a

  result of the Defendant’s discrimination until the Defendant is compelled to comply with the

  requirements of the ADA.

         17.     Plaintiffs have a realistic, credible, existing and continuing threat of discrimination

  from the Defendant’s non-compliance with the ADA with respect to this website as described




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  above. Plaintiffs have reasonable grounds to believe that they will continue to be subjected to

  discrimination in violation of the ADA by the Defendant. Plaintiffs desire to access the website

  to avail themselves of the benefits, advantages, goods and services therein, and/or to assure

  themselves that this website is in compliance with the ADA so that they and others similarly

  situated will have full and equal enjoyment of the website without fear of discrimination.

            18.   The Plaintiffs and all others similarly situated will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested

  herein.

            19.   Plaintiffs are without adequate remedy at law and is suffering irreparable harm.

  Plaintiffs have retained the undersigned counsel and is entitled to recover attorney’s fees, costs

  and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

            20.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiffs Injunctive Relief, including an order to require the Defendant to alter its website to make

  it readily accessible to and usable by Plaintiffs and other persons with vision impairment.

            21.   As a result of the foregoing, Plaintiffs have been obligated to retain the undersigned

  counsel for the filing and prosecution of this action. Plaintiffs are entitled to have their reasonable

  attorneys’ fees, costs and litigation expenses paid by Defendant pursuant to 42 U.S.C. § 12205.

            WHEREFORE, Plaintiffs respectfully request:

            a.    The Court issue a Declaratory Judgment that determines that the Defendant’s
                  website at the commencement of the subject lawsuit is in violation of Title III of
                  the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.;

            b.    The Court issue a Declaratory Judgment that determines that the Defendant’s
                  website is in violation of Title III of the Americans with Disabilities Act, 42 U.S.C.
                  § 12181 et seq.;

            c.    The Court issue a Declaratory Judgment that Defendant has violated the ADA by
                  failing to monitor and maintain its website to ensure that it is readily accessible to



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                and usable by persons with vision impairment;

         d.     That this Court issue an Order directing Defendant to alter its website to make it
                accessible to, and useable by, individuals with disabilities to the full extent required
                by Title III of the ADA;

         e.     That this Court enter an Order directing Defendant to evaluate and neutralize its
                policies and procedures towards persons with disabilities for such reasonable time
                so as to allow Defendant to undertake and complete corrective procedures;

         f.     That this Court enter an Order directing Defendant to continually update and
                maintain its website to ensure that it remains fully accessible to and usable by
                visually impaired individuals;

         g.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C. §
                12205; and,

         h.     Such other relief as the Court deems just and proper, and/or is allowable under Title
                III of the Americans with Disabilities Act.


  Dated: July 13, 2021                         Respectfully submitted,


                                               /s/ J. Courtney Cunningham
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